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MM

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

 

Plaintiff, WORN Goan
. ACISTRNTE JUDGE R, STEVEN WHALEN
VIO: 21 U.S.C. § 846 i
21 U.S.C. § 848
D-1 TERRY LEE FLENORY, a.k.a. “T,” 21 US.C. § 841(a)(1)
“Southwest T,” “Paulie,” “Randy Jerome Seville,” 21 U.S.C. §841(b)(1)(A) GIT)
“Terrence Welch,” “Terry Lee Brown,” & 21 U.S.C. §841(6)(1)(B)andD
“Terry Williams,” 21 U.S.C. § 843(b)
D-2. DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” 18 U.S.C. § 1956(h)
“Rico Seville,” “Aundrez Malik Carothers,”
“Ricardo Santos,” & “Ronald B. Ivory,”
D-3 NEIL JAMIL BAHURA,
D-4 ARNOLD EDWARD BOYD, JR., a.k.a. “A.R.,”
D-5 ROY CHRISTOPHER BRADDY, a.k.a. “Four,” & “Chris,”
D-6 CLEVELAND EDWARD CATO, a.k.a. “Cuzo,” & = .
“Michael Damien Walker,” - Si souigns
D-7 ALVIN DEMMINGS, IL, eC o ome
D-8 BRIAN RONELL GARRETT, a.k.a. “White Boy,” F225 <3 sss
D-9 JABARI HAYES, a.k.a. “Kenneth Torry Collins,” mye N —_
D-10 ROBERT SHAWN JAMES, a.k.a. “Wimp,” oe 3 ° mms
D-11 BENJAMIN ANTHONY JOHNSON, a.k.a. “James Lee Belle,” eS mR oad
“Jeff Wilson,” “Marcus Page,” “Blanko,” & “Blank,” Ms ue
D-12 CHAUNCEY MARCEL JOHNSON, a.k.a. “C Bear,”
D-13 STANLEY LEON LACKEY, JR., a.k.a. “Lucky,” & “Demetres Parks,”
D-14 BRUCE ERNEST MARTIN, a.k.a. “Marcus Moore,” & “B-Smooth,”
D-15 CHARLES THEODORE PARSON,
D-16 DERRICK KEITH PEGUESE, JR., a.k.a. “Devin Jackson,”
D-17 RENNEL MAURIS PITTS,
D-18 KARREAM HASAN SHEARD, a.k.a. “Hasan Sheard,” & “Phillip Woodson,”
D-19 BENJAMIN HENRY SMITH, a.k.a. “Big Ben,”
D-20 CALVIN LEE SPARKS, a.k.a. “Playboy,” “Play,” & “Mad Ball,”
D-21 CHRISTOPHER DELON TRIPLETT, a.k.a. “Chris Dodson,” “Pig Triplett,” & “Pig,”
D-22 TONESA LYNETTE WELCH, a.k.a. “Tonesa Mills,” & “Toni,”
D-23 GREGORY RAY WEST, a.k.a. “David Blackmon,”

 
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D-24 HAROLD STANLEY WILCOX, a.k.a. “June,” and
D-25 KIM VERNELL WILLIAMS, a.k.a. “Auntie Kim,”

 

Defendants.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

(21 US.C. §§ 846, 841(a)(1) & 841(b)(1)(A) GID -
~Conspiracy to Distribute 5 Kilograms or more of Cocaine)

D-l TERRY LEE FLENORY, a.k.a. “T,”
“Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” &
“Terry Williams,”
D-2. DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,”
“Rico Seville,” ““Aundrez Malik Carothers,”
“Ricardo Santos,” & “Ronald B. Ivory,”
D-4 ARNOLD EDWARD BOYD, JR., a.k.a. “A.R.,”
D-5 ROY CHRISTOPHER BRADDY, a.k.a. “Four,” & “Chris,”
D-6 CLEVELAND EDWARD CATO, a.k.a. “Cuzo,” &
“Michael Damien Walker,” .
D-7 ALVIN DEMMINGS, II,
D-8 BRIAN RONELL GARRETT, a.k.a. “White Boy,”
D-9 JABARI HAYES, a.k.a. “Kenneth Torry Collins,”
D-10 ROBERT SHAWN JAMES, a.k.a. “Wimp,”
D-11 BENJAMIN ANTHONY JOHNSON, a.k.a. “James Lee Belle,”
“Jeff Wilson,” “Marcus Page,” “Blanko,” & “Blank,”
D-12 CHAUNCEY MARCEL JOHNSON, a.k.a. “C Bear,”
D-13 STANLEY LEON LACKEY, JR., a.k.a. “Lucky,” & “Demetres Parks,”
D-14 BRUCE ERNEST MARTIN, a.k.a. “Marcus Moore,” & “B-Smooth,”
D-15 CHARLES THEODORE PARSON,
D-16 DERRICK KEITH PEGUESE, JR., a.k.a. “Devin Jackson,”
D-17 RENNEL MAURIS PITTS,
D-18 KARREAM HASAN SHEARD, a.k.a. “Hasan Sheard,” & “Phillip Woodson,”
D-19 BENJAMIN HENRY SMITH, a.k.a. “Big Ben,”

No

 
 

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D-20 CALVIN LEE SPARKS, a.k.a. “Playboy,” “Play,” & “Mad Ball,”

D-21 CHRISTOPHER DELON TRIPLETT, a.k.a. “Chris Dodson,” “Pig Triplett,” & “Pig,”
D-22 TONESA LYNETTE WELCH, a.k.a. “Tonesa Mills,” & “Toni,”

D-23 GREGORY RAY WEST, a.k.a. “David Blackmon,”

D-24 HAROLD STANLEY WILCOX, a.k.a. “June,” and

D-25 KIM VERNELL WILLIAMS, a.k.a. “Auntie Kim,”

1. From on or about January 1, 1990, said date being approximate, and continuing to the
date of this indictment, in the Eastern District of Michigan, and elsewhere, TERRY LEE
FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,” “Terrence Welch,”
“Terry Lee Brown” & “Terry Williams,” DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,”
“Rico Seville,” “Aundrez Malik Carothers,” “Ricardo Santos” & “Ronald B. Ivory,” ARNOLD
EDWARD BOYD, JR., a.k.a. “A.R.,” ROY CHRISTOPHER BRADDY, a.k.a. “Four,” & “Chris,”
CLEVELAND EDWARD CATO, a.k.a. “Cuzo,” & “Michael Damien Walker,” ALVIN
DEMMINGS, II, BRIAN RONELL GARRETT, a.k.a. “White Boy,” JABARI HAYES, a.k.a.
“Kenneth Torry Collins,” ROBERT SHAWN JAMES, a.k.a. “Wimp,” BENJAMIN ANTHONY
JOHNSON, a.k.a. “James Lee Belle,” “Jeff Wilson,” “Marcus Page,” “Blanko,” & “Blank,”
CHAUNCEY MARCEL JOHNSON, a.k.a. “C Bear,’ STANLEY LEON LACKEY, JR., a.k.a.
“Lucky,” & “Demetres Parks,” BRUCE ERNEST MARTIN, a.k.a. “Marcus Moore,” & “B-
Smooth,” CHARLES THEODORE PARSON, DERRICK KEITH PEGUESE, JR., a.k.a. “Devin
Jackson,” RENNEL MAURIS PITTS, KARREAM HASAN SHEARD, a.k.a. “Hasan Sheard,” &
“Phillip Woodson,” BENJAMIN HENRY SMITH, a.k.a. “Big Ben,” CALVIN LEE SPARKS,

a.k.a. “Playboy,” “Play,” & “Mad Ball,” CHRISTOPHER DELON TRIPLETT, a.k.a. “Chris

Dodson,” “Pig Triplett,” & “Pig,” TONESA LYNETTE WELCH, a.k.a. “Tonesa Mills,” & “Toni,”

 
 

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GREGORY RAY WEST, a.k.a. “David Blackmon,” HAROLD STANLEY WILCOX, a.k.a.
“June,” KIM VERNELL WILLIAMS, a.k.a. “Auntie Kim,” and others known and unknown to the
Grand Jury, did knowingly, intentionally and unlawfully combine, conspire, confederate and agree
with one another to commit an offense or offenses against the United States, that is, to knowingly or
intentionally possess with intent to distribute and to distribute 5 kilograms or more of a mixture or
substance containing a detectable amount of cocaine, in violation of Title 21, United States Code,
Sections 841(a)(1) and 841(b)(1)(A)(1i)(ID.

2. It was a part of the conspiracy that TERRY LEE FLENORY and DEMETRIUS
EDWARD FLENORY, by the early 1990's, had established a drug organization which was dealing
in kilogram quantities of cocaine in the Detroit metropolitan area. By the mid 1990's, the
organization was extended into other areas of the United States including St. Louis, Missouri, Los
Angeles, California and Atlanta, Georgia. At various times during the life of the conspiracy,
BENJAMIN JOHNSON and ARNOLD EDWARD BOYD, JR. acted as managers over several
aspects of the illegal drug operation. Eventually, TERRY LEE FLENORY and DEMETRIUS
EDWARD FLENORY began to operate their illegal cocaine business-from Atlanta, Georgia and
Los Angeles, California as well as Detroit. Between approximately 2001 and 2003, TERRY LEE
FLENORY and DEMETRIUS EDWARD FLENORY began to refer to their activities as being part
of an entity they called the “Black Mafia Family” (BMF). Over the course of the conspiracy, the
organization headed by the FLENORYS bought or sold cocaine in several states including, but not

limited to, Kentucky, Georgia, Florida, Missouri, California, Texas and Michigan.

 

 
 

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3. It was a further part of the conspiracy that TERRY LEE F LENORY, DEMETRIUS
EDWARD FLENORY and others would arrange for large amounts of currency derived from the
sale of cocaine in the Detroit metropolitan area and elsewhere to be transported to Texas, California,
Georgia and elsewhere for the purpose of purchasing more cocaine.

4. It was a further part of the conspiracy that TERRY LEE FLENORY, DEMETRIUS
EDWARD FLENORY, TONESA WELCH and others would use currency derived from the sale of
cocaine to purchase or lease luxury automobiles and to acquire real property.

5. It was a further part of the conspiracy that TERRY LEE F LENORY, DEMETRIUS
EDWARD FLENORY and others would utilize vehicles equipped with traps and hidden
compartments to conceal and transport the cash generated from the drug organization’s sale of
cocaine. Among the persons who would use these vehicles to transport the cash were BRIAN
RONELL GARRETT, JABARI HAYES, STANLEY LEON LACKEY, JR., BRUCE ERNEST
MARTIN, DERRICK KEITH PEGEUSE, JR., KARREAM HASSAN SHEARD, GREGORY
RAY WEST and KIM VERNELL WILLIAMS.

6. It was a further part of the conspiracy that ARNOLD EDWARD BOYD, JR., ROY
CHRISTOPHER BRADDY, CLEVELAND EDWARD CATO, ALVIN DEMMINGS, Il, JABARI
HAYES, ROBERT SHAWN JAMES, BENJAMIN ANTHONY JOHNSON, CHAUNCEY
MARCEL JOHNSON, CHARLES THEODORE PARSON, RENNEL MAURIS PITTS,
BENJAMIN HENRY SMITH, CALVIN LEE SPARKS, CHRISTOPHER DELON TRIPLETT

and HAROLD STANLEY WILCOX would facilitate the conspiracy by, among other activities,

 
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transporting and/or distributing cocaine on behalf of TERRY LEE FLENORY and DEMETRIUS
EDWARD FLENORY.

7. At various times during the existence of the conspiracy, police officials seized quantities
of cocaine belonging to the drug organization run by TERRY LEE FLENORY and DEMETRIUS
EDWARD FLENORY. This cocaine was intended for further distribution by the organization.
These seizures included the following:

A. On or about May 10, 1999 in Polk County, Texas, police seized approximately] 8

kilograms of cocaine.

B. On or about December 2, 2000 in or near Flagstaff, Arizona, police seized

approximately! 7 kilograms of cocaine.

C. On or about February 5, 2001 in Kansas City, Missouri, police seized approximately 9

kilograms of cocaine.

D. On or about September 15, 2002 in Collin County, Texas, police seized approximately 23

kilograms of cocaine.

E. On or about August 14, 2003 in Crawford County, Arkansas, police seized approximately

27 kilograms of cocaine.

F. On or about April 5S, 2004 in Florissant, Missouri, police seized approximately 9

kilograms of cocaine.

G. On or about April 11, 2004 in St. Louis, Missouri, police seized approximately 113.5

kilograms of cocaine.

 
 

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H. On or about June 16, 2005 in Woodland Hills, California, police seized approximately

250 kilograms of cocaine.

8. At numerous times during the existence of the conspiracy, TERRY LEE FLENORY,
DEMETRIUS EDWARD FLENORY and others knowingly and intentionally used a
communication facility, specifically, a telephone, in causing or facilitating the commission of the
conspiracy to distribute cocaine.

Several of these telephone calls were made by TERRY FLENORY to and from places

outside of the Eastern District of Michigan. These calls, include, but are not limited to the

following:
Date of Call Time of Call
August 29, 2004 1:03 p.m.
August 30, 2004 9:03 p.m.

September 2, 2004 10:58 p.m.
September 3, 2004 12:08 a.m.
September 7, 2004 10:24 p.m.
September 8, 2004 10:20 p.m.
September 9, 2004 ~ 4:21 p.m.

September 15, 2004 8:29 p.m.

All in violation of Title 21 United States Code, Section 846

 

 
 

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COUNT TWO
(Title 21, U.S.C. §§ 848(a) & (c) - Continuing Criminal Enterprise)

D-1 TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams”

That in or about the year 1990, said date being approximate, and continuing thereafter up to:
and including the date of this indictment, in the Eastern District of Michigan, Southern Division,
and elsewhere, TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome
Seville,” “Terrence Welch,” “Terry Lee Brown” & “Terry Williams,” defendant herein, did
knowingly, intentionally and unlawfully engage in a continuing criminal enterprise in that he
unlawfully, willfully, intentionally and knowingly did violate Title 21, United States Code Sections
841(a), 843(b) and 846 on three or more occasions including but not limited to those violations set
forth more completely in Count One in general and specifically in paragraphs 7 and 8 of Count One
and Counts Four through Nine of this indictment, which counts are hereby adopted and incorporated
by reference as if set forth fully. These and other violations were all part of a continuing series of
violations of Subchapter I and II of Title 21, United States Code Section 801 et seq., that were
undertaken by defendant TERRY LEE FLENORY in concert with at least five or more persons
with respect to whom the defendant occupied the position of administrator, organizer, or leader of
the enterprise and from which continuing series of violations he received substantial income and
resources.

Allin violation of Title 21, United States Code Section 848(a) & (c).

 
 

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COUNT THREE
(Title 21, U.S.C. §§ 848(a) & (c) - Continuing Criminal Enterprise)

D-2. DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik
Carothers,” “Ricardo Santos,” & “Ronald B. Ivory,”

That in or about the year 1990, said date being approximate, and continuing thereafter up to
and including the date of this indictment, in the Eastern District of Michigan, Southern Division,
and elsewhere, DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez
Malik Carothers,” “Ricardo Santos,” & “Ronald B. Ivory,” defendant herein, did knowingly,
intentionally and unlawfully engage in a continuing criminal enterprise in that he unlawfully,
willfully, intentionally and knowingly did violate Title 21, United States Code Sections 841(a),
843(b) and 846 on three or more occasions including but not limited to those violations set forth
more completely in Count One in general and specifically in paragraph 7 of Count One, Counts
Four through Six and Count Eight of this indictment, which counts are hereby adopted and
incorporated by reference as if set forth fully. These and other violations were all part of a
continuing series of violations of Subchapter I and II of Title 21, United States Code Section 801 et
seq., that were undertaken by defendant DEMETRIUS EDWARD FLENORY in concert with at
least five or more persons with respect to whom the defendant occupied the position of
administrator, organizer, or leader of the enterprise and from which continuing series of violations
he obtained substantial income or resources.

All in violation of Title 21, United States Code Section 848(a) & (c).

 
 

 

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COUNT FOUR

(21 U.S.C. §§841(a)(1) & 841(b)(1)(B)Gi)ID -
Possession With intent to Distribute More Than 500 Grams of Cocaine)

D-1 TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,”
D-2) DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik
Carothers,” “Ricardo Santos,” & “Ronald B. Ivory,”
D-11 BENJAMIN ANTHONY JOHNSON a.k.a. “James Lee Belle,” “Jeff Wilson,” “Marcus
Page,” “Blanko,” & “Blank,”
1. That on or about June 9, 2002, in the Eastern District of Michigan, Southern Division,
TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,” DEMETRIUS EDWARD
FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik Carothers,” “Ricardo Santos,” &
“Ronald B. Ivory,” and BENJAMIN ANTHONY JOHNSON, a.k.a. “James Lee Belle,” “Jeff
Wilson,” “Marcus Page,” “Blanko,” & “Blank,” defendants herein, aiding and abetting each other,
did unlawfully, knowingly and intentionally possess with intent to distribute a mixture or substance
containing in excess of 500 grams of cocaine, a Schedule IJ Controlled Substance to wit:
approximately 876.9 grams.
All in violation of Title 21, United States Code, Sections 841(a)(1); 841(b)(1)(B)(i1)(II) and
18 United States Code Section 2.

COUNT FIVE

(21 U.S.C. §§841(a)(1) & 841(b)(1)(A) (ii) -
Possession With intent to Distribute More Than 5 Kilograms of Cocaine)

D-1 TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,”

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D-2. DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik

Carothers,” “Ricardo Santos,” & “Ronald B. Ivory,”
D-4 ARNOLD EDWARD BOYD, JR., a.k.a. “A.R.,”
D-15. CHARLES THEODORE PARSON

1. That on or about June 18, 2004, in the Eastern District of Michigan, Southern Division,
TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,” DEMETRIUS EDWARD
FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik Carothers,” “Ricardo Santos,” &
“Ronald B. Ivory,” and ARNOLD THEODORE BOYD, JR., a.k.a. “A.R.,” and CHARLES
THEODORE PARSON defendants herein, aiding and abetting each other, did unlawfully,
knowingly and intentionally possess with intent to distribute a mixture or substance containing in
excess of 5 kilograms of cocaine, a Schedule II Controlled Substance to wit: approximately 9,987
grams.

All in violation of Title 21, United States Code, Sections 841(a)(1); 841(b)(1)(A)GID and
Title 18 United States Code Section 2.

COUNT SIX

(21 U.S.C. §§$841(a)(1) -
Possession With intent to Distribute Cocaine )

D-1 TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,”

D-2. DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “Rico Seville,” ‘“Aundrez Malik
Carothers,” “Ricardo Santos,” & “Ronald B. Ivory,”

D-10 ROBERT SHAWN JAMES, a.k.a. “Wimp”

1. That on or about November 12, 2004 , in the Eastern District of Michigan, Southern

Division, TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”

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“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,” DEMETRIUS EDWARD
FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik Carothers,” “Ricardo Santos,” &
“Ronald B. Ivory,” and ROBERT SHAWN JAMES, a.k.a. “Wimp,” defendants herein, aiding and
abetting each other, did unlawfully, knowingly and intentionally possess with intent to distribute a
mixture or substance containing approximately 124 grams of cocaine, a Schedule II Controlled
Substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and Title 18 United
States Code Section 2.

COUNT SEVEN
(21 U.S.C. Sec. 843(b) -
Use of Communication Facility in Facilitating the Commission of

Violations of the Controlled Substances Act)

D-1 TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & ‘Terry Williams,”

1. That on or about May 28, 2004 at approximately 11:24 a.m. , in the Eastern District of
Michigan, Southern Division, and elsewhere TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,”
“Paulie,” “Randy Jerome Seville,” “Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,”
defendant herein, knowingly and intentionally used a communication facility, to-wit: a telephone, in
causing or facilitating the commission of acts constituting a felony under the Controlled Substances
Act, to-wit: conspiracy to distribute cocaine in violation of 21 U.S.C. § 846.

All in violation of Title 21, United States Code, Section 843(b).

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D-1

D-2

COUNT EIGHT

(21 U.S.C. Sec. 843(b) -
Use of Communication Facility in Facilitating the Commission of
Violations of the Controlled Substances Act)

TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,”

DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik
Carothers,” “Ricardo Santos,” & “Ronald B. Ivory,”

1. That on or about May 29, 2004 at approximately 11:09 p.m. , in the Eastern District of

Michigan, Southern Division, and elsewhere, TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,”

“Paulie,” “Randy Jerome Seville,” “Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,”

and DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “Rico Seville,” “Aundrez Malik

Carothers,” “Ricardo Santos,” & “Ronald B. Ivory,” defendants herein, knowingly and intentionally

used a communication facility, to-wit: a telephone, in causing or facilitating the commission of acts

constituting a felony under the Controlled Substances Act, to-wit: conspiracy to distribute cocaine

in violation of 21 U.S.C. § 846.

All in violation of Title 21, United States Code, Section 843(b).
COUNT NINE
(21 U.S.C. Sec. 843(b) -
Use of Communication Facility in Facilitating the Commission of
Violations of the Controlled Substances Act)
TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,” “Paulie,” “Randy Jerome Seville,”

“Terrence Welch,” “Terry Lee Brown,” & ‘Terry Williams,”
CHARLES THEODORE PARSON

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in violation of 21 U.S.C. § 846.
All in violation of Title 21, United States Code, Section 843(b).
COUNT TEN

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1. That on or about June 17, 2004 at approximately 2:51 p.m. , in the Eastern District of
Michigan, Southern Division, and elsewhere, TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,”
“Paulie,” “Randy Jerome Seville,” “Terrence Welch,” “Terry Lee Brown,” & “Terry Williams, and
CHARLES THEODORE PARSON, defendants herein, knowingly and intentionally used a
communication facility, to-wit: a telephone, in causing or facilitating the commission of acts
constituting a felony under the Controlled Substances Act, to-wit: conspiracy to distribute cocaine
(18 U.S.C. § 1956(a)(1)(A)Q), 1956(a)(1)(B)(i),
1956(a)(1)(B)(i), and 1956(h) - Conspiracy
| to Launder Monetary Instruments
D-1 TERRY LEE FLENORY, a.k.a. “T,”
“Southwest T,” “Paulie,” “Randy Jerome Seville,”
“Terrence Welch,” “Terry Lee Brown,” &
“Terry Williams,”
D-2) DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,”
“Rico Seville,” “Aundrez Malik Carothers,”
“Ricardo Santos,” & ‘Ronald B. Ivory,”
D-3. NEIL JAMIL BAHURA,
D-4 ARNOLD EDWARD BOYD, JR., a.k.a. “A.R.,”
D-5 ROY CHRISTOPHER BRADDY, a.k.a. “Four,” & “Chris,”
D-8 BRIAN RONELL GARRETT, a.k.a. “White Boy,”
D-9 JABARI HAYES, a.k.a. “Kenneth Torry Collins,”
D-ll BENJAMIN ANTHONY JOHNSON, a.k.a. “James Lee Belle,”
“Jeff Wilson,” “Marcus Page,” “Blanko,” & “Blank,”
D-13. STANLEY LEON LACKEY, JR., a.k.a. “Lucky,” & “Demetres Parks,”
D-14 BRUCE ERNEST MARTIN, a.k.a. “Marcus Moore,” & “B-Smooth,”
D-16 DERRICK KEITH PEGUESE, JR., a.k.a. “Devin Jackson,”
D-18 KARREAM HASAN SHEARD, a.k.a. “Hasan Sheard,” & “Phillip Woodson,”
D-22 TONESA LYNETTE WELCH, a.k.a. “Tonesa Mills,” & “Toni,”

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' D-23) GREGORY RAY WEST, a.k.a. “David Blackmon,”
D-24 HAROLD STANLEY WILCOX, a.k.a. “June,”
D-25 KIM VERNELL WILLIAMS, a.k.a. “Auntie Kim”

1. That in or about January, 1990 and continuing through the date of this indictment, in the
Eastern District of Michigan, and elsewhere, TERRY LEE FLENORY, a.k.a. “T,” “Southwest T,”
“Paulie,” “Randy Jerome Seville,” “Terrence Welch,” “Terry Lee Brown,” & “Terry Williams,”
DEMETRIUS EDWARD FLENORY, a.k.a. “Meech,” “‘Rico Seville,” “Aundrez Malik Carothers,”
“Ricardo Santos,” & “Ronald B. Ivory,” NEIL JAMIL BAHURA, ARNOLD EDWARD BOYD,
JR., a.k.a. “A.R.,” ROY CHRISTOPHER BRADDY, a.k.a. “Four,” & “Chris,” BRIAN RONELL
GARRETT, a.k.a. “White Boy,” JABARI HAYES, a.k.a. “Kenneth Torry Collins,””» BENJAMIN
ANTHONY JOHNSON, a.k.a. “James Lee Belle,” “Jeff Wilson,” “Marcus Page,” “Blanko,” &
“Blank,” STANLEY LEON LACKEY, JR., a.k.a. “Lucky,” & “Demetres Parks,” BRUCE
ERNEST MARTIN, a.k.a. “Marcus Moore,” & “B-Smooth,” DERRICK KEITH PEGUESE, JR.,
a.k.a. “Devin Jackson,” KARREAM HASAN SHEARD, a.k.a. “Hasan Sheard,” & “Phillip
Woodson,” TONESA LYNETTE WELCH, a.k.a. “Tonesa Mills,” & “Toni,” GREGORY RAY
WEST, a.k.a. “David Blackmon,’ HAROLD STANLEY WILCOX, a.k.a. “June,” and KIM
VERNELL WILLIAMS, a.k.a. “Auntie Kim,” defendants herein, along with William Charles
Marshall, Jr., a.k.a. “Anthony Jordan,” “Jamal Washington,” ‘‘Doc,” & “Bi,” knowing that the
property involved represented the proceeds of some form of unlawful activity, as defined in Title
18, United States Code, Section 1956(c)(1), that is, the distribution of cocaine, a felony under Title
21, United States Code, Section 841(a)(1), did knowingly, intentionally and unlawfully combine,

conspire, confederate and agree with each other, and with others, both known and unknown to the

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grand jury, to conduct and cause to be conducted financial transactions which involved the proceeds
of said unlawful activity, with intent to promote the carrying on of said unlawful activity, to conceal
and disguise the nature, location, source, ownership and control of the proceeds of the said unlawful
activity and to avoid transaction reporting requirements under federal law; all in violation of Title
18, United States Code, Sections 1956(a)(1)(A)(i), (a)(1)(B)(i), (a)(1)(B)Gi), and (h).

2. It was part of the unlawful conspiracy that TERRY LEE FLENORY and DEMETRIUS
EDWARD FLENORY would and did operate a large drug distribution organization which involved
the delivery of cocaine to Detroit, Michigan and elsewhere for distribution.

3. It was a further part of the unlawful conspiracy that, at the direction of TERRY LEE
FLENORY and DEMETRIUS EDWARD FLENORY, ARNOLD EDWARD BOYD, JR., BRIAN
RONELL GARRETT, JABARI JAMIL HAYES, BENJAMIN ANTHONY JOHNSON, STANLEY
LEON LACKEY, JR., BRUCE ERNEST MARTIN, DERRICK KEITH PEGUESE, JR.,
KARREAM HASAN SHEARD, GREGORY RAY WEST, HAROLD STANLEY WILCOX, KIM
VERNELL WILLIAMS and others would collect or arrange for the collection of large amounts of
currency derived from the sale of cocaine in the metropolitan Detroit area and elsewhere, and then
transport or arrange for the transportation of this currency to Texas, California, Georgia and
elsewhere for the purpose of purchasing more cocaine, thus promoting the illicit distribution of
cocaine.

4. It was a further part of the unlawful conspiracy that the FLENORY organization would
utilize vehicles equipped with traps and hidden compartments to conceal and transport the cash

generated from the drug organization’s sale of cocaine,

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5. It was a further part of the unlawful conspiracy that TERRY LEE FLENORY and
DEMETRIUS EDWARD FLENORY, KARREAM HASAN SHEARD and other conspirators
including William Charles Marshall, Jr., would utilize false names as well as nominee purchasers
and lessees to purchase or lease luxury vehicles, to acquire and sell real property and to conduct
related financial transactions, while concealing the true source, nature and ownership of the funds
involved in these transactions, the source being from the sale of cocaine.

6. It was a further part of the unlawful conspiracy that various conspirators would provide
false employment and income information to car dealerships and banking institutions in order to
obtain vehicles by purchase or lease or mortgage loans for real property purchases

7. It was a further part of the unlawful conspiracy that various conspirators including
TONESA LYNETTE WELCH and William Charles Marshall, Jr. would take large amounts of cash
derived from the organization’s sale of cocaine and a) deposit the cash into various bank accounts
or direct others to make the deposits; b) purchase cashier’s checks and money orders or direct
others to make such purchases and/or c) wire transfer these funds or direct others to do so. These
funds would then be used to purchase assets and pay personal expenses with the goal of concealing
the true source, nature and ownership of the funds which had been derived from the sale of cocaine.

8. It was a further part of the unlawful conspiracy that members of the conspiracy would
purchase winning four digit State of Michigan lottery tickets from the true winners. Many of these
tickets were obtained by NEIL JAMIL BAHURA who in turn sold them to HAROLD STANLEY
WILCOX. HAROLD STANLEY WILCOX would pay NEIL JAMIL BAHURA for the lottery

tickets with cash obtained from TERRY LEE FLENORY. These winning tickets, which totaled

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more than $1,000,000 would be redeemed with the State of Michigan’s lottery bureau by TONESA
LYNETTE WELCH, ROY CHRISTOPHER BRADDY and others and monies received would be
deposited into various personal bank accounts. The monies would then be used to purchase homes,
make mortgage payments, and purchase vehicles in order to conceal the fact that these monies really
were derived from the sale of cocaine by the FLENORYS’ drug organization.

9. It was a further part of the conspiracy that on or about October 4, 1996, in the Eastern
District of Michigan, agents from the United States Customs Service (now known as Immigration
and Customs Enforcement), working in an undercover capacity, received approximately $300,000
in cash which was intended as payment for cocaine purchased by the FLENORYS’ organization.

10. It was a further part of the conspiracy that on or about October 16, 1996 in the Eastern
District of Michigan, agents from the United States Customs Service (now known as Immigration
and Customs Enforcement), working in an undercover capacity, received approximately $250,000
in cash which was intended as payment for cocaine purchased by the FLENORYS’ organization.

11. It was a further part of the conspiracy that on or about October 3, 1997, BRUCE
MARTIN possessed and transported approximately $143,221 in cash which was seized by police in
Spalding County, Georgia.

12. It was a further part of the conspiracy that on or about September 14, 1999, BRUCE
MARTIN possessed and transported approximately $425,190 in cash which was seized by police in
Beaumont, Texas.

13. It was a further part of the conspiracy that from approximately October, 2001 through

December, 2004, TONESA LYNETTE WELCH made mortgage payments with cashier’s checks or

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money orders totaling more than $240,000 on a house located at 5435 Ethel, Sherman Oaks,
California.

14. It was a further part of the conspiracy that from approximately January, 2001 through
August, 2005, TONESA LYNETTE WELCH made monthly lease payments with funds from her
personal bank account totaling more than $600,000 to lease a residence located at 14445
Mulholland Drive, Bel Air, California.

15. It was a further part of the conspiracy that on or about January 31, 2003, KIM
VERNELL WILLIAMS, purchased a 2003 GMC Yukon VIN # 3GKFK16Z43G1311940. This
vehicle was then transferred to an alias used by BENJAMIN ANTHONY JOHNSON. It would later
be used by ARNOLD EDWARD BOYD, JR. as a trade in on a 2003 Chevrolet Express RV.

16. It was a further part of the conspiracy that on or about February 26, 2003, BRIAN
RONELL GARRETT and KIM VERNELL WILLIAMS possessed and transported approximately
$723,790 in cash which was seized by police in Gray County, Texas.

17. It was a further part of the conspiracy that on or about March 20, 2003, CLEVELAND
CATO purchased a cashier’s check with cash in the amount of $4,800.

18. It was a further part of the conspiracy that on March 20, 2003, CLEVELAND CATO
entered into a two year lease agreement relative to 23332 Mission Lane, Farmington Michigan. The
owners of the property were paid $1,000 for the partial month of March and an additional $9,600

($3,200 per month) for the months of April, May, and June.

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19. It was a further part of the conspiracy that on or about May 23, 2003 TERRY LEE
FLENORY purchased a 2001 Mercedes Benz $500 VIN # WDBNG75J51A136551 using an alias
name.
20. It was a further part of the conspiracy that on or about September 25, 2003 TONESA
LYNETTE WELCH purchased a 2003 BMW 760LI, VIN # WBAGN83463DK 10609.
21. It was a further part of the conspiracy that on or about November 4, 2003, TERRY LEE
FLENORY purchased a 2003 Range Rover VIN #SALME11473A118886 using an alias name.
22. It was a further part of the conspiracy that on or about December 11, 2003, ARNOLD
EDWARD BOYD, JR. purchased 36027 Beverly, Romulus, Michigan.
23. It was a further part of the conspiracy that on or about December 4, 2003. TERRY LEE
FLENORY purchased a 2004 Chevrolet K15, VIN # 3GNFK16Z34G102739 using an alias name.
24. It was a further part of the conspiracy that on or about March 16, 2004 JABARI HAYES
possessed and transported approximately $588,605 in cash which was seized by police in Fenton,
Missouri.
25. It was a further part of the conspiracy that on or about June 28, 2004, ARNOLD
EDWARD BOYD, JR. purchased a 2003 Chevrolet Express VIN # 1GBFG15T831 192236.
26. It was a further part of the conspiracy that on or about July 28, 2004, GREGORY RAY
WEST possessed and transported approximately $199,690 in cash which was seized by police in
Atlanta, Georgia. The vehicle in which the money was hidden had been registered in the name of a

friend of KARREAM HASAN SHEARD with SHEARD’S active involvement.

 
 

 

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27. It was a further part of the conspiracy that on or about December 17, 2004 DEMETRIUS
oie ee | hey
EDWARD FLENORY utilizing a nominee/lessee leased a residence located at SW 58
Avenue, Miami, Florida for $30,000 per month.

28. It was a further part of the conspiracy that on or about January 11, 2005, approximately
$576,000 in cash was seized by police from 16221 Elisa Place, Sherman Oaks, California where
TONESA LYNETTE WELCH resided.

29. It was a further part of the conspiracy that on or about January 27, 2005, STANLEY
LEON LACKEY, JR. and DERRICK KEITH PEGUESE, JR. possessed and transported
approximately $648,550 in cash which was seized by police in Detroit, Michigan. The vehicle in
which the money was hidden had been registered by KARREAM HASAN SHEARD under an alias
name.

30. It was a further part of the conspiracy that on or about April 5, 2005, STANLEY
LACKEY, JR. possessed and transported approximately $580,250 in cash which was seized by
police in Romulus, Michigan. The vehicle in which the money was hidden had been registered by
KARREAM HASAN SHEARD under an alias name.

31. It was a further part of the conspiracy that on or about June 16, 2005, police seized
approximately $1,868,759 from 5550 Oso, Woodland Hills, California, which was possessed by
members of the FLENORYS’ drug organization.

All in violation of Title 18, United States Code, Section 1956(h).

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COUNT ELEVEN

(21 U.S.C. § 853, 18 U.S.C. § 981 (a)(1)(C), 18 U.S.C. § 982 and/or
28 U.S.C. §2461 - Criminal Forfeiture)

‘1. The allegations contained in Counts 1-6 and 10 of this Indictment are hereby incorporated
by reference for the purpose of alleging forfeiture pursuant to the provisions of Title 21, United
States Code, Section 853; Title 18, United States Code, Sections 981(a)(1)(C) and 982; and Title
28, United States Code, Section 2461.

2. As a result of the foregoing violations of Title 21, United States Code, Sections 841, 846
and 848 and Title 18, United States Code, Section 1956, as charged in Counts 1-6 and 10 of this
Indictment, defendants 1-26, shall forfeit to the United States: (a) any property constituting, or
derived from, any proceeds obtained, directly or indirectly, as a result of such violations: (b) any
property involved in said violations, or any property traceable to such property; and (c) any property
used, or intended to be used, in any manner or part, to commit or to facilitate the commission of
such violations.

3. Identified Property Subject to Forfeiture. Property subject to forfeiture to the United
States includes, but is not limited to, the following property:

(a) REAL PROPERTY, which is facilitating property, proceeds or property traceable

thereto, or property involved in the above-described violations of Title 21, United States

Code, Sections 841, 846 and 848 and Title 18, United States Code, Section 1956.

(1) 6086 Belair Lake Road, Lithonia, Georgia, described as:

ALL THAT TRACT OR PARCEL OF LAND lying and being in Land Lot 85 of the
16" District of Dekalb County, Georgia and being Lot 1, of Belair Estates

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Subdivision, as per plat recorded in Plat Book 100, Page 112, Dekalb County records
and revised on June 4, 1997, by Alvin E. Vaughn & Associates, Surveyors, which
plat is incorporated herein by reference thereto; being unimproved property known as __
6086 Belair Lake Road, according to the present system of numbering houses in
Dekalb County, Georgia.

Titled in the name of Tonesa L. Welch.

(2) 1886 S. Beatrice St. Detroit, Michigan, described as:

South 34 feet of Lot 23 and North 9 feet of Lot 24, “Michael Dunn Estate
Subdivision”, according to the plat thereof as recorded in Liber 57 of Plats, Page 70,
Wayne County Records.

Ward: 20 Item No. 12857

Title in the name Roy Braddy.

(3) 47080 Hidden River Circle, Canton, Michigan, described as:

Lot 23 of HIDDEN RIVER ESTATE SUBDIVISION, according to the plat thereof
recorded in Liber 116 of Plats, page(s) 45, 46 and 47 of Wayne County Records
Tax Parcel No.: 71-XXX-XX-XXXX-000.

Titled in the name of Roy Braddy.

(4) 2543 John R, Detroit, Michigan, described as:

Unit #23 Woodward Place at Brush Park I] Condominium a condominium according
to the Master Deed recorded in Liber 31357, Pages 957 through 1053, inclusive,
Wayne County Records, as amended, and designated as Wayne County
Condominium Subdivision Plan No. 549, together with rights in Common Elements
and Limited Common Elements as set forth in the aforementioned Master Deed and
as described in Act 59 of the Public Acts of 1978, as amended, more commonly
known as: 2543 John R, Ward No.: 618.023

Titled in the name of Harold Wilcox.

(5) 25114 Coral Gables, Southfield, Michigan, described as:

Lot 13 Whito Valley Subdivision, according to the Plat thereof as recorded in Liber
61, Page 7 of Plat Oakland County Records.

Tax I.D. No: 24-20-126-008

Titled in the name of Harold Wilcox.

 
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(6) 17607 Edinborough Road, Detroit, Michigan, described as:

Lot 418, Brookline Subdivision No. 2, as recorded in Liber 43 Page 47 of Plats,
Wayne County Records Parcel Identification: Ward: 32 Item: 091124
Commonly known as 17607 Edinborough Road, Detroit, Michigan

Titled in name of Harold Wilcox.

(7) 4409-4411 Second Street, Ecorse, Michigan, described as:

LOT 19, including one half of the vacated alley located at the rear thereof and
adjacent thereto, “LABADIES SUBDIVISION”, according to the plat thereof as
recorded in Liber 22 of Place, Page 5, Wayne County Records

c/k/a 4409-4411 2™ Street

Property ID #34-007-1 1-0019-000.

Titled in the name of Roy Braddy and Randi Boyd.

(8) 36027 Beverly, Romulus, Michigan, described as:

Lots 9 and 10 Grand Park Subdivision as recorded in Liber 14, Page 96, of Plats,
Wayne County Records. Parcel Id.# 80-XXX-XX-XXXX-300.
Titled in the name of Arnold E. Boyd Jr.

(9) 14445 Mulholland Dr., Los Angeles, California 90077-1733, described as:

TRACT #1000 LOT COM N 69 10' W 226 FT FROM MOST W COR OF LOT 12
TR # 14155 TH N 20 58'15" E TO SW LINE OF SD TR TH NW THEREON TOA
PT SE THEREON 263 FT FROM MOST W COR OF LOT 5 SD TR TH SW TO
NE.

Parcel ID: 2275-029-019.

Titled in the name of Tonesa Welch.

(10) 40530 Deer Creek Unit 42, Canton, Michigan, described as:

Land situated in the Township of Canton, Wayne County, Michigan. Unit 42, DEER
CREEK CONDOMINIUM, a Condominium according to the Master Deed recorded
in Liber 34501, On Pages | through 59; both inclusive, Wayne County Records, and
designated as Wayne County Condominium Subdivision Plan No. 620, together with
rights in general common elements and limited common elements, as set forth in the
above described Master Deed and as described in Act 59 of the Public Acts of 1978,
as amended.

Sidwell Number: 71-XXX-XX-XXXX-000.

Titled in the name of Christine Johnson-Browen.

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(b) VEHICLES, which are facilitating conveyances or proceeds, or property traceable to, or
property involved in the above-described violations of Title 21, United States Code,
Sections 841, 846 and 848 and Title 18, United States Code, Section 1956.

(1) 2000 Lincoln Limousine, VIN: 1L1FM81W3YY860226, in the name of Hasan
Sheard;

(2) 2001 Chevrolet, VIN: 1GCEC19T91E100943, in the name of Stomping Ground
Entertainment;

(3) 2001 Yukon Denali, bearing MI license plate 8EZ-PO3, VIN:
1GKFK66U51J178326, in the name of Roy Braddy;

(4) 2003 BMW 760 LI, VIN: WBAGN83473DK 10294, in the name of Inconel
Motors Sale & Leasing or Larry Van Steele:

(5) 2003 Chevrolet Express RV, bearing MI license plate YVS-297,
VIN: IGBFG15T831192236, in the name of Arnold Edward Boyd, Jr.;

(6) 2003 Lincoln Navigator, VIN: 5LMFU27R63LJ24963, in the name of Philip
Woodson;

(7) 2003 Silver Range Rover, bearing CA license plate 5DUX354, VIN:
SALME11473A118886, in the name of Terrence Welch;

(8) 2004 Chevrolet IK15, bearing GA license plate BW-3165, VIN:
3GNFK16Z34G102739, in the name of Terrence Welch;

 

(9) 2004 Black Land Rover, bearing MI license plate OFJN5S9, VIN:
SALMF11464A141414, in the name of Gwendolyn Deshawn Brown;

(10) 2004 Aston-Martin, VIN: SCFAC233X4B501454, in the name of Oracle
Motorsports;

(11) 2004 Bentley GT, VIN: SCBCR63W 14C021520, in the name of Inconel
Motors Sale & Leasing or Larry Van Steele;
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(12) 2004 Black Bentley Continental GT, bearing Florida plate S761C1, VIN:
SCBCR63W74C021313, in the name of Larry Van Steele;

(13) 2004 Dodge Ram, bearing MI license plate YYV-293, VIN:
3D7HA 16HX4G233720, in the name of Harold Wilcox;

(14) 2004 Marauder, bearing MI license plate YVW-244, VIN:
2MHHM79V04X68 1039, in the name of Roy Braddy;

(15) 2004 Silver Monte Carlo, bearing MI license plate ZPC408, VIN:
2G1WW12E049100661, in the name of Jacqueline Wilcox;

(16) 2005 Black BMW, bearing CA license plate 5LAK974, VIN:
WBAGN83505DK11265, in the name of Inconel Motors Sale & Leasing
or Larry Van Steele;

(17) 2005 GMC Sierra Pick-up, MI plate CX25A, VIN: 1GTHK23245F929196,
registered to Randall Jones; and

 

(18) 2004 Black Cadillac Escalade, VIN: 3GYEK62NX4G177856, California
registration SFTU219, registered to William Marshall,

(c) BANK ACCOUNTS, which are proceeds or property involved in the above-described
violations of Title 21, United States Code, Sections 841, 846 and 848 and Title 18, United
States Code, Section 1956.
(1) Bank of America Account # 04296-08882 in the name of Tonesa L. Welch;
(2) Bank of America Account # 03970-06376 in the name of Tonesa L. Welch;

(3) Wells Fargo Bank Account # 505-1138492 in the name of Oracle
Motorsports;

(4) Downriver Community Federal Credit Union Account # 2077259
in the name of Gwendolyn D. Browen;

(5) Comerica Bank Account # 6816011669 in the name of Harold Wilcox or
Tracey A. Stallworth;

(6) Comerica Bank Account # 6810903960 in the name of Roy Braddy; and

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(7) Comerica Bank Account # 9407692632 in the name of Roy Braddy.
(d) SEIZED CURRENCY, which are proceeds of the above-described violations of Title
21, United States Code, Sections 841, 846 and 848 and Title 18, United States Code, Section
1956.

(1) Six Hundred Forty Eight Thousand Five Hundred Fifty Dollars ($648,550) in
United States Currency, which was seized on January 27, 2005, as described in
paragraph 36 of this Indictment; and

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(2) Five Hundred Eighty Thousand Two Hundred Fifty Dollars ($580,250) in United

States Currency, which was seized on April 5, 2005, as described in paragraph of
this Indictment. 36 of Cunt /o

5. Money Judgment. Such property includes, but is not limited to, $270,000,000 in United

 

States currency and all traceable interest and proceeds for which the defendants are jointly and
severally liable. Such sum in aggregate is property representing the proceeds of the aforementioned
offenses, or is traceable to such property, and/or is involved in violations of Title 21, United States
Code, Sections 841, 846 and 848 and Title 18, United States Code, Section 1956.

6. Substitute Assets. Pursuant to Title 21, United States Code, Section 853(p), as

incorporated by.Title 18, United States Code, Section 982(b), defendants 1 through 26, shall forfeit

 

substitute property, up to the value of the properties described in paragraph 3 above, if, by any act or
omission of the defendant, the property described in paragraph 3 cannot be located upon the

exercise of due diligence; has been transferred, sold to or deposited with a third party; has been

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placed beyond the jurisdiction of the court; has been substantially diminished in value; or has been
commingled with other property which cannot be divided without difficulty.

THIS IS A TRUE BILL.

S/GRAND JURY FOREPERSON

STEPHEN J. MURPHY
United States Attorney

 

s/MICHAEL C. LEIBSON, P24092
Assistant United States Attorney

s/DAWN N. ISON, P43111
Assistant United States Attorney

s/JULIE A. BECK, P53291
Assistant United States Attorney

l
Date: October i 2005

 
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United States District Court Criminal Case Cover Sheet Case Number
Eastern District of Michigan .

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects hy
RS t
VAGISTRATE JUper ore,

a hm _ STEVEN VW
Companion Case Information Companion Case Number: NIA HALEN

This may be a companion case based upon LCrR 57.10 (b)(4)": Judge Assigned: N/A

C1 Yes No AUSA’s Initials: Ane

 

 

 

 

 

Case Title: USA v. TERRY FLENORY, et. al.

 

 

County where offense occurred: __Wayne and elsewhere
Check One: Felony C] Misdemeanor C Petty
Indictment/ Information --- no prior complaint.
X_Indictment/ Information --- based upon prior complaint [Case number: _ 05-80933 |
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information:

Superseding to Case No: Judge:

 

 

Original case was terminated; no additional charges or defendants.

Corrects errors; no additional charges or defendants.

Involves, for plea purposes, different charges or adds counts.

Embraces same subject matter but adds the additional defendants or charges below:

OOOO

Defendant name Charges

Please take notice that the below listed Assist
the above captioned case.

  
 

ted States Attorney is the attorney of record for

October | , 2005 |
Date “MICHAEL C. LEIBSON f
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, Ml 48226-3277
Phone: (313) 226-9615
Fax: (313) 226-5464
E-Mail address: michael.leibson@usdoj.gov
Attorney Bar # P24092

' Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.

5/20/04

 
